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    8                     UNITED STATES DISTRICT COURT
    9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
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   11   TAI HANG and ROBERT CANALES,           Case No. 5:21-cv-00287-JWH-KKx
          on behalf of themselves and all
   12     others similarly situated,
                                               ORDER GRANTING PLAINTIFFS’
   13               Plaintiffs,                MOTION FOR PRELIMINARY
                                               APPROVAL OF CLASS AND
   14         v.                               REPRESENTATIVE ACTION
                                               SETTLEMENT
   15   OLD DOMINION FREIGHT LINE,
          INC., a Virginia corporation; and
   16   DOES 1 to 100, inclusive,
   17               Defendants.
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    1         The Court has reviewed and considered the Motion for Preliminary
    2   Approval of Class and Representative Action Settlement filed by named
    3   Plaintiffs Tai Hang and Robert Canales on behalf of themselves and all others
    4   similarly situated (collectively, “Plaintiffs”), the Declarations of Counsel and
    5   the exhibits in support of the Motion, including the Stipulation and Settlement
    6   of Class and Representative Action (the “Settlement”) between Plaintiffs and
    7   Defendant Old Dominion Freight Line, Inc.
    8         This Order hereby incorporates by reference the definitions in the
    9   Settlement Agreement as though fully set forth herein, and all terms used herein
   10   shall have the same meaning as set forth in the Settlement Agreement.
   11                                      I. FINDINGS
   12         Now therefore, having read and considered the foregoing, the Court
   13   hereby makes the following FINDINGS:
   14         A.     The Court finds on a preliminary basis that the proposed
   15   Settlement falls within the range of reasonableness, and the terms of the
   16   Settlement, as set forth in the Settlement Agreement, are presumptively fair,
   17   adequate, and reasonable to the Class, and, therefore, they meet the
   18   requirements for preliminary approval, subject only to any objections that may
   19   be raised before or at the Final Fairness and Approval Hearing. It appears to the
   20   Court that the Settlement’s terms are fair, adequate, and reasonable as to all
   21   potential Class Members when balanced against the probable outcome of further
   22   litigation, given the risks relating to liability and damages. It further appears that
   23   extensive investigation and research has been conducted such that counsel for
   24   the Parties at this time are reasonably able to evaluate their respective positions.
   25   It further appears to the Court that the Settlement at this time would avoid
   26   substantial additional costs by all parties, as well as the delay and risks that
   27   would be presented by the further prosecution of the Action. It appears that the
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    1   Settlement has been reached as a result of intensive, arm’s-length negotiations
    2   utilizing an experienced third-party neutral.
    3         B.     The Court further finds, for settlement purposes only, that under
    4   the provisions of Rule 23 of the Federal Rules of Civil Procedure, the Trial
    5   Court has discretion to certify a Class where questions of law or fact common to
    6   the members of the Class predominate over any questions affecting only
    7   individual members and that a class action is superior to the available methods
    8   for the fair and efficient adjudication of the controversy. See
    9   Fed. R. Civ. P. 23(b)(3). Certification of a Class is the appropriate judicial
   10   device under these circumstances.
   11         C.     Therefore, the Court CERTIFIES, for settlement purposes only,
   12   the following Class described in the Motion for Preliminary Approval and
   13   Settlement Agreement:
   14         The Settlement Class is as follows:
   15         All of Defendant’s non-exempt current and former employees
   16         working or who worked in the State of California in a Dockworker or
   17         Dockworker Lead position during the Settlement Period (defined as
   18         May 12, 2016, through Preliminary Approval of the Class and
   19         Representative Action Settlement or August 31, 2023, whichever is
   20         earlier). It shall be an opt-out class.
   21         D.     The Court further finds that the moving papers presented for the
   22   Court’s review set forth a plan to provide proper notice to the Class of the terms
   23   of the Settlement and the options available to the Class, including the ability of
   24   the Class Members to Opt-Out or to submit a Request for Exclusion to the
   25   Settlement and not be bound by the Settlement Agreement or receive any
   26   Settlement Payment under it; to object to the terms of the Settlement; or to do
   27   nothing and receive a Settlement Payment and be bound by the terms of the
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    1   Settlement. Plaintiffs have submitted to the Court a proposed Notice of Class
    2   Settlement.
    3                                   II. DISPOSITION
    4            As a result, for good cause appearing, it is hereby ORDERED as follows:
    5       1.         The Court hereby preliminarily APPROVES the proposed
    6   Settlement upon the terms, conditions, and all release language set forth in the
    7   Settlement Agreement attached hereto as Exhibit 1.
    8       2.         The Court conditionally CERTIFIES and APPROVES, for
    9   settlement purposes only, the Class described above.
   10       3.         For the purposes of this Settlement, the Law Offices of Kevin T.
   11   Barnes, the Law Offices of Raphael A. Katri, and Stonebrook Law (collectively,
   12   “Class Counsel”) are hereby APPOINTED as Class Counsel and shall
   13   represent the Class Members in this Action. Any Class Member may enter an
   14   appearance in the Action, at his or her own expense, either individually or
   15   through counsel of his or her own choice; however, if he or she does not enter an
   16   appearance, then he or she will be represented by Class Counsel.
   17       4.         For the purposes of this Settlement, Plaintiffs Tai Hang and Robert
   18   Canales are hereby APPOINTED as Class Representatives for the Class.
   19       5.         The Court APPOINTS Rust Consulting Inc. to be the Settlement
   20   Administrator. The procedures for paying the Settlement Administrative Costs,
   21   as set forth in the Settlement Agreement, are APPROVED. Rust Consulting
   22   Inc. is DIRECTED to perform all responsibilities of the Settlement
   23   Administrator as set forth in the Settlement Agreement.
   24       6.         The Court hereby APPROVES, as to form and content, the Notice
   25   of Class and Representative Action Settlement attached as Exhibit B to the
   26   Settlement Agreement (the “Notice”). The Court finds that the dates and
   27   procedure for mailing and distributing the Notice of in the manner set forth in
   28   Paragraph 7 of this Order meet the requirements of due process and that they

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    1   are the best notice practicable under the circumstances and that they shall
    2   constitute due and sufficient notice to all persons entitled thereto.
    3        7.        The Court DIRECTS the mailing of the Court-approved Notice
    4   via first class mail to the Class Members in accordance with the schedule and
    5   procedures set forth in the Settlement Agreement.
    6                  a.    Within thirty (30) calendar days of the date of preliminary
    7         approval of this Settlement, Defendant shall provide to the Settlement
    8         Administrator the Class Lists.
    9                  b.    Within fifteen (15) calendar days of receiving the Class Lists
   10         from Defendant, the Settlement Administrator shall mail, by First-Class
   11         United States mail, the Notice to each Class Member. The Settlement
   12         Administrator shall conduct a National Change of Address database
   13         search before mailing the Notices and will also use the most recent
   14         address available to the Settlement Administrator for mail delivery. Any
   15         returned mail with a forwarding address from the U.S. postal service shall
   16         be promptly re-mailed to the new address. The Settlement Administrator
   17         shall perform a skip trace search for a new address for any returned mail
   18         without a forwarding address.
   19       8.         The procedures for Class Members to Opt-Out or to submit a
   20   Request for Exclusion, as set forth in the Notice, are APPROVED. The time
   21   for Class Members to Opt-Out of the Settlement, or to submit a Request for
   22   Exclusion from the Settlement, shall be forty-five (45) days after the date of the
   23   first mailing of the Notices.
   24       9.         The procedures for Class Members to object to the Settlement, as
   25   set forth in the Notice, are APPROVED. The time for Class Members to object
   26   to the Settlement shall be forty-five (45) days after the date of the first mailing of
   27   the Notices.
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    1      10.       The procedures for Class Members to dispute the number of
    2   workweeks worked, as set forth in the Notice are APPROVED. The time for
    3   Class Members to submit a workweek dispute shall be forty-five (45) days after
    4   the date of the first mailing of the Notices.
    5       11.      The Court hereby preliminarily APPROVES the definition and
    6   disposition of the Class Settlement Amount as that term is defined in the
    7   Settlement Agreement. The Court preliminarily APPROVES the distribution
    8   of the Class Settlement Amount, all subject to the Court’s final approval of the
    9   Settlement at the Final Approval Hearing. Assuming that the Settlement
   10   receives final approval, Defendant shall be required to pay only the Class
   11   Settlement Amount in the total amount of $2,850,000 plus the employer’s share
   12   of taxes due as a result of this Settlement.
   13      12.       A Final Approval Hearing (the “Hearing”) is SET for
   14   December 14, 2023, at 10:00 a.m. before the Honorable Judge John W. Holcomb
   15   in Courtroom 9D of the United States District Court for the Central District of
   16   California. The purpose of such Hearing will be:
   17                a.     to determine whether the proposed Settlement should be
   18         finally approved by the Court as fair, reasonable, and adequate;
   19                b.     to determine the reasonableness of Class Counsels’ request
   20         for attorneys’ fees and costs and the amount to be awarded;
   21                c.     to determine the reasonableness of the Class
   22         Representatives’ Service Awards requested for the Class Representatives
   23         and the amounts to be awarded; and
   24                d.     to order entry of Judgment in the Class and Representative
   25         Action, which shall constitute a complete release and bar with respect to
   26         the Released Claims.
   27      13.       Class Counsel shall file and serve all papers in support of the
   28   Motion for Final Approval and any application for reimbursement of attorneys’

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    1   fees and costs, including any costs associated with or incurred by the Settlement
    2   Administrator, by November 20, 2023.
    3      14.       Class Counsel shall file and serve a declaration from the Settlement
    4   Administrator as to all participation, objections, and opt outs by Class Members
    5   by November 30, 2023.
    6      15.       The Court reserves the right to continue the date of the Final
    7   Approval Hearing without further notice to the Class Members and retains
    8   jurisdiction to consider all further applications arising out of or connected with
    9   the proposed Settlement. However, Class Counsel and/or the Settlement
   10   Administrator will give notice to any objecting party of any continuance of the
   11   Final Approval Hearing.
   12      16.       All further proceedings in this Action are STAYED except such
   13   proceedings necessary to review, approve, and implement this Settlement.
   14      17.       In the event that:
   15                a.     the Court does not finally approve the Settlement as
   16         contemplated by the Settlement Agreement;
   17                b.     the Court does not enter a Final Approval Order as
   18         contemplated by the Settlement Agreement, which becomes final as a
   19         result of the occurrence of the Effective Date (as that term is defined by in
   20         the Settlement Agreement); or
   21                c.     the Settlement does not become final for any other reason,
   22   the Settlement and any related certification of Class for purposes of the
   23   Settlement shall be null and void and any order or judgment entered by this
   24   Court in furtherance of the Settlement shall be deemed as void from the
   25   beginning. In such a case, the Parties and any funds to be awarded under this
   26   Settlement shall be returned to their respective statuses as of the date and time
   27   immediately prior to the execution of the Settlement, and the Parties shall
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    1   proceed in all respects as if no Classes had been certified and the Settlement
    2   Agreement had not been executed.
    3      18.       Neither the Settlement, preliminarily approved or not, nor any
    4   exhibit, document, or instrument delivered hereunder, nor any statement,
    5   transaction, or proceeding in connection with the negotiation, execution, or
    6   implementation of the Settlement, shall be admissible in evidence for any reason
    7   except as provided in the Settlement Agreement.
    8         IT IS SO ORDERED.
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   10   Dated:   August 3, 2023
                                               John W. Holcomb
   11                                          UNITED STATES DISTRICT JUDGE
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                         EXHIBIT 1
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                1      STIPULATION FOR LEAVE TO FILE FIFTH AMENDED COMPLAINT
                2 AND FOR SETTLEMENT AND RELEASE OF CLASS ACTION AND PAGA
                3                                         CLAIMS
                4            This Stipulation for Leave to File Fifth Amended Complaint and for
                5 Settlement and Release of Class Action and PAGA Claims (the “Settlement
                6 Agreement” or “Agreement”) is made and entered into by and between Plaintiffs
                7 TAI HANG (“Hang”) and ROBERT CANALES (“Canales”) (collectively referred
                8 to herein as “Plaintiffs” or “Class Representatives”), on their own behalf and as
                9 proposed representatives on behalf of the Class to be certified pursuant to this
              10 Settlement Agreement (as described in Paragraph 9, below) and, if the Court grants
              11 final approval of this Agreement, on behalf of each of the members of the Class
              12 (each, individually, a “Class Member” and, collectively, “Class Members”) upon
              13 their becoming Participating Class Members (as defined below) pursuant to the
              14 terms of this Agreement, as well as on behalf of the California Labor and Workforce
              15 Development Agency (“LWDA”) pursuant to PAGA (as defined below), on the one
              16 hand, and Defendant OLD DOMINION FREIGHT LINE, INC. (“Defendant”), on
              17 the other hand, in Hang, et al. v. Old Dominion Freight Line, Inc., et al., United
              18 States District Court for the Central District of California (the “Court”), Case No.
              19 5:21-cv-00287-JWH-KK (the “Action”).
              20             This Settlement Agreement is subject to the terms and conditions herein and
              21 the approval of the Court. For purposes of this Settlement Agreement, Plaintiffs and
              22 Defendant are each referred to individually as a “Party” and collectively as the
              23 “Parties.”
              24                                    SETTLEMENT AMOUNT
              25             As described in detail hereafter, and pursuant to all of the terms and
              26 conditions set forth in this Settlement Agreement, Defendant shall pay the total
              27 amount of Two Million Eight Hundred Fifty Thousand Dollars ($2,850,000.00) (the
              28 “Gross Settlement Fund,” “GSF,” or “Settlement Fund”), to resolve all of the
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                        STIPULATION FOR LEAVE TO FILE FIFTH AMENDED COMPLAINT AND FOR SETTLEMENT AND
                                           RELEASE OF CLASS ACTION AND PAGA CLAIMS
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                1 claims being released herein, as set forth in detail hereafter.            This Settlement
                2 Agreement is not subject to any reversion of funds to Defendant, such that the entire
                3 settlement amount will be payable if the settlement becomes Final as defined herein,
                4 and any amounts not received via mail by any Class Members will be transmitted by
                5 the Settlement Administrator pursuant to governing law to the California Unclaimed
                6 Property fund to be held there for the benefit of such Class Members under
                7 California’s escheatment laws.
                8                                   BACKGROUND AND RECITALS
                9            1.        On October 5, 2020, Hang filed with the LWDA and served on
              10 Defendant a notice under California Labor Code § 2699.3 stating he intended to
              11 serve as a proxy of the LWDA to recover civil penalties on behalf of “Aggrieved
              12 Employees” (as described in Paragraph 20 below) for various alleged violations of
              13 the California Labor Code and applicable California Industrial Welfare Commission
              14 (“IWC”) Wage Orders (the “Hang PAGA Notice”).
              15             2.        On October 14, 2020, Canales filed with the LWDA and served on
              16 Defendant a notice under California Labor Code § 2699.3 stating he intended to
              17 serve as a proxy of the LWDA to recover civil penalties on behalf of “Aggrieved
              18 Employees” (as described in Paragraph 20 below) for various alleged violations of
              19 the California Labor Code and applicable California IWC Wage Orders (the
              20 “Canales PAGA Notice”) (the Hang PAGA Notice and Canales PAGA Notice are
              21 collectively referred to herein as the “PAGA Notices”).
              22             3.        On November 6, 2020, Plaintiffs filed a putative class action Complaint
              23 against Defendant in San Bernardino County Superior Court (the “State Court”),
              24 Case No. CIVSB2025678 (the “Proposed Class Complaint”). The Proposed Class
              25 Complaint alleges six (6) causes of action for alleged violations of the California
              26 Labor Code and applicable IWC Wage Orders on behalf of Plaintiffs and other
              27 current and former non-exempt “dock worker” employees of Defendant.
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                1            4.        On December 17, 2020, Plaintiffs filed a First Amended Complaint in
                2 the State Court, which added a seventh claim pursuant to which Plaintiffs seek civil
                3 penalties under the California Labor Code Private Attorneys General Act of 2004,
                4 Cal. Lab. Code § 2698, et seq. (“PAGA”).
                5            5.        On February 19, 2021, Defendant removed this Action to this Court.
                6 After preliminary motion practice, Plaintiffs filed their currently operative Fourth
                7 Amended Class Action (FRCP Rule 23) Complaint (the “4AC”).
                8            6.        The claims alleged in the PAGA Notices and the 4AC include claims
                9 for (1) failure to provide legally-compliant rest periods; (2) failure to authorize and
              10 permit all paid rest periods; (3) independent failure to timely furnish accurate
              11 itemized wage statements; (4) derivative failure to timely furnish accurate itemized
              12 wage statements; (5) failure to pay wages upon discharge; (6) civil penalties under
              13 PAGA pursuant to California Labor Code §§ 2699 and 2699.3 for alleged violations
              14 of California Labor Code §§ 201-203, 204, 206, 210, 221, 226, 226.3, 226.7, 510,
              15 512, 516, 558, 1174, 1194, 1194.2, 1197, 1197.1, 1198, 1199, 2802; and the
              16 applicable IWC Wage Orders, including sections pertaining to “Rest Periods,”
              17 “Meal Periods,” “Hours and Days of Work,” and “Minimum Wages”; and (8) unfair
              18 business practices in violation of California Business and Professions Code, Cal.
              19 Bus. & Prof. Code §§ 17200, et seq.
              20             7.        Prior to negotiating the Settlement, Plaintiffs obtained, through
              21 informal discovery, documents and information, including, inter alia, timekeeping
              22 and payroll data regarding Aggrieved Employees and Class Members.
              23             8.        On April 3, 2023, the Parties participated in a private mediation with
              24 mediator David A. Rotman, Esq. While the Parties did not reach a settlement during
              25 that mediation on that date, with the assistance of Mr. Rotman, the Parties continued
              26 to engage in substantial, arms-length settlement negotiations thereafter and
              27 ultimately agreed on a resolution in principal later in April 2023, subject to their
              28 preparation and execution of this Agreement and the Court’s final approval thereof.
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                        STIPULATION FOR LEAVE TO FILE FIFTH AMENDED COMPLAINT AND FOR SETTLEMENT AND
                                           RELEASE OF CLASS ACTION AND PAGA CLAIMS
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                1 The terms of that resolution are now set out in this Agreement.
                2            9.        For purposes of this Settlement Agreement only, “Class” or
                3 “Settlement Class” consists of: All of Defendant’s non-exempt current and former
                4 employees working or who worked in the State of California in a Dockworker or
                5 Dockworker Lead position from May 12, 2016 through and including the date the
                6 Court grants preliminary approval of this Settlement Agreement or August 31, 2023,
                7 whichever occurs earlier. The time period applicable to Class Members’ release of
                8 claims under this Agreement is May 12, 2016 through August 31, 2023 (the
                9 “Settlement Period”). To the extent any applicable statute(s) of limitations would
              10 otherwise limit the Settlement Period in whole or in part, Defendant waives its
              11 application solely for purposes of effectuating this settlement. Expressly excluded
              12 from the Class are any individuals who, as of the date the Court grants preliminary
              13 approval of this settlement, have filed a pending, separate lawsuit as a named
              14 plaintiff, individually and/or as a putative class or representative action, asserting
              15 claims based on violations of any of the same statutes and/or regulations as those
              16 alleged to have been violated in the Action and/or who have released such claims.
              17             10.       No Admission of Liability by Defendant.       Defendant denies any
              18 liability or wrongdoing of any kind associated with the Action and the claims being
              19 released herein, and Defendant contends that it has complied at all times with all
              20 applicable California laws. A statement to this effect will be included in the notice
              21 sent to Class Members. Neither this Settlement Agreement nor any exhibit hereto,
              22 nor any other document pertaining to the settlement contemplated herein, may be
              23 offered in any other case or proceeding as evidence of any admission by Defendant
              24 of any liability on any claims for damages or other relief. Any stipulation or
              25 admission by Defendant contained herein is made for settlement purposes only.
              26             11.       Nevertheless, in the interest of avoiding the costs and disruption of
              27 ongoing litigation and resolving the claims asserted in the Action, the Parties believe
              28 that the settlement negotiated between them and set forth in this Settlement
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                        STIPULATION FOR LEAVE TO FILE FIFTH AMENDED COMPLAINT AND FOR SETTLEMENT AND
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                1 Agreement is fair, reasonable, and adequate.
                2            12.       It is the desire of Plaintiffs, on their own behalf and on behalf of the
                3 Class Members, as well as on behalf of the LWDA with respect to those claims
                4 asserted under PAGA, to fully, finally, and forever settle, compromise, release and
                5 discharge the claims set forth in Paragraphs 40 and 41 of this Settlement Agreement,
                6 as applicable.
                7                                   TERMS OF THE SETTLEMENT
                8            13.       Conditional Leave to File Fifth Amended Class Action Complaint and
                9 Limited Tolling of Statute of Limitations. Solely for purposes of this settlement
              10 only, and the Court granting preliminary and final approval thereof, the Parties
              11 hereby stipulate and agree, subject to the Court’s entry of such approval orders, that
              12 leave to file the proposed Fifth Amended Class Action (FRCP Rule 23) Complaint
              13 (“5AC” or “Operative Complaint”) attached hereto as Exhibit A be granted, which
              14 pleads the claims already alleged in the 4AC and asserts additional direct and
              15 derivative statutory, UCL and PAGA claims for alleged unpaid minimum and
              16 overtime wages for off-the-clock work, alleged failure to provide compliant first and
              17 second meal periods, and alleged failure to indemnify/reimburse for business
              18 expenses pursuant to the California Labor Code, the IWC Wage Orders and/or the
              19 PAGA Notices (the “Additional Claims”), all of which were investigated, litigated,
              20 mediated, and resolved in the Action. Plaintiffs’ motion for preliminary approval of
              21 the settlement will request conditional leave to file the 5AC solely for purposes of
              22 this settlement, and all allegations therein shall be deemed to relate back to the date
              23 of the filing of Plaintiffs’ Proposed Class Complaint solely for purposes of this
              24 settlement, with Defendant being relieved from having to file any response to the
              25 5AC and being deemed to have generally and specifically denied all allegations
              26 contained in the 5AC. Should, for whatever reason, the Court require Defendant to
              27 file an answer to the 5AC, then Defendant will cooperate in doing so. Further,
              28 should, for whatever reason, the settlement set forth in this Settlement Agreement
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                        STIPULATION FOR LEAVE TO FILE FIFTH AMENDED COMPLAINT AND FOR SETTLEMENT AND
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                1 not become final, the 5AC shall be deemed stricken, null, and void ab initio, with
                2 the previously filed 4AC remaining the operative pleading, and the Parties will
                3 confer regarding leave for Plaintiffs to file the 5AC should Plaintiffs wish to do so
                4 for purposes of further litigating the Action. However, if the Parties do not reach an
                5 agreement on such leave, then Plaintiffs and Defendant agree that the applicable
                6 statute of limitations for the Additional Claims is tolled commencing on the date this
                7 Agreement has been fully executed by the Parties and their counsel until 21 calendar
                8 days after the date the Court enters an order denying approval of this Agreement (the
                9 “MFL Filing Deadline”). If Plaintiffs do not file a motion for leave to file the 5AC
              10 on or by the MFL Filing Deadline, then Plaintiffs and Defendant agree that the
              11 tolling stops on the MFL Filing Deadline. Additionally, if Plaintiffs do file a motion
              12 for leave to file the 5AC by the MFL Filing Deadline, then Plaintiffs and Defendant
              13 agree that the applicable statute of limitations for the Additional Claims will
              14 additionally be tolled from the date the motion for leave to file the 5AC is filed until
              15 the date the Court enters an order granting or denying the motion. Nothing herein
              16 constitutes any type of express or implied waiver or limitation of Defendant’s rights,
              17 claims, remedies or defenses in connection with (a) the Additional Claims, (b)
              18 Plaintiffs’ motion for leave to file the 5AC and/or any other further amended
              19 complaint (if filed) and/or (c) the 5AC and/or any further amended complaint if
              20 allowed to be filed by Plaintiffs.
              21             14.       Stipulation for Conditional Class Certification: The Parties stipulate
              22 and agree to the conditional certification of the Settlement Class for purposes of this
              23 Settlement Agreement only. Should, for whatever reason, the settlement set forth in
              24 this Settlement Agreement not become final, the Parties’ stipulation to such class
              25 certification as part of this settlement shall become null and void ab initio and shall
              26 have no bearing on, and shall not be admissible in connection with, the issue of
              27 whether or not certification would be appropriate in a non-settlement context.
              28 Defendant expressly reserves its rights and declares that, to the extent Plaintiffs may
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                        STIPULATION FOR LEAVE TO FILE FIFTH AMENDED COMPLAINT AND FOR SETTLEMENT AND
                                           RELEASE OF CLASS ACTION AND PAGA CLAIMS
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                1 otherwise be permitted to seek class certification, Defendant intends to oppose class
                2 certification vigorously should this settlement not become final and putative class
                3 action claims are allowed to be pursued in the Action or any other action or
                4 proceeding.
                5            15.       Establishment of the Settlement Fund: This settlement is being made
                6 on a non-reversionary basis, such that Defendant will pay the entirety of the agreed
                7 upon total Gross Settlement Fund.
                8            16.       The payment by Defendant of the total Gross Settlement Fund pursuant
                9 to this Settlement Agreement shall settle and forever resolve all of the Released
              10 Claims (as defined below), and will include all payments to Participating Class
              11 Members (as defined below), Aggrieved Employees (as defined below), and
              12 government taxing authorities (to the extent applicable), as well as (a) the costs of
              13 administration of the settlement, (b) all claimed and/or awarded attorneys’ fees and
              14 costs, (c) the claimed and/or awarded enhancement awards to the Class
              15 Representatives, and (d) all payments to be made to the LWDA pursuant to PAGA.
              16 Specifically included in the Gross Settlement Fund are both employee-side and
              17 employer-side payroll taxes and withholdings associated with the payments to
              18 Participating Class Members and Aggrieved Employees (as applicable), and no
              19 additional funding or payment by Defendant will be required for any such
              20 obligations. The settlement payments are not being made for any other purpose and
              21 will not be construed as “compensation” for purposes of determining eligibility for
              22 any health and welfare benefits, unemployment compensation, or other
              23 compensation or benefits provided by Defendant.                In addition, no individual
              24 receiving a payment based on this Settlement shall be entitled to any additional or
              25 increased health, welfare, retirement, or other benefits as a result of their
              26 participation in the Settlement and/or receipt of payment under this Settlement.
              27             17.       Calculation of Net Settlement Fund:     The total sum from which
              28 Participating Class Members will be paid (the “Net Settlement Fund” or “NSF”)
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                1 shall be the Gross Settlement Fund less the following: Settlement Administration
                2 Costs, the PAGA Amount (as defined below), Attorneys’ Fees and Costs, the
                3 Enhancement Awards and employer-side payroll taxes and withholdings associated
                4 with the payments to Participating Class Members. The remaining sum after all
                5 these deductions shall be the NSF, which will be used to calculate the settlement
                6 share that each Participating Class Member will receive if this settlement becomes
                7 Final (as defined below).
                8            18.       Effective Date:   This Settlement Agreement shall become effective
                9 when the settlement is considered to be Final. For purposes of this Settlement
              10 Agreement, “Final Approval” means the Court’s determination that the Settlement
              11 is fair, reasonable, and adequate, granting of final approval of the Settlement, and
              12 entry of judgment based thereon, and “Final Approval Order” means the Court’s
              13 order determining the Settlement to be fair, reasonable, and adequate and granting
              14 final approval of the Settlement and judgment based thereon. For purposes of this
              15 Settlement Agreement, “Effective Date” and “Final” mean the following after the
              16 Court grants Final Approval of the settlement: (i) 35 days after notice of entry of the
              17 Court’s Final Approval Order without a timely appeal being filed, and a judgment of
              18 dismissal with prejudice of the Action being effectuated, regardless of whether any
              19 timely objections to the granting of Final Approval have been filed or withdrawn; or,
              20 (ii) if a timely appeal of the Court’s Final Approval Order has been filed, 35 days
              21 after the final disposition of all appellate proceedings and the exhaustion of any
              22 applicable time period to seek further appellate review without doing so, and a
              23 judgment of dismissal with prejudice of the Action has been effectuated. In the
              24 event that the Court fails to approve the settlement, or if the appropriate appellate
              25 court fails to approve the settlement, and/or Plaintiffs fail to effectuate the dismissal
              26 of the Action as specified: (1) this Settlement Agreement shall have no force and
              27 effect and the Parties shall be restored to their respective positions prior to entering
              28 into it, and no Party shall be bound by any of the terms of the Settlement Agreement;
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                1 (2) Defendant shall have no obligation to make any payments to the LWDA,
                2 Aggrieved Employees, Class Members, Plaintiffs, or Plaintiffs’ Counsel; and (3) any
                3 preliminary approval order and/or Final Approval Order shall be vacated.
                4            19.       Mediation and Settlement Communications:          This Settlement
                5 Agreement and all negotiations, statements, proceedings, and data relating thereto
                6 shall be deemed confidential mediation settlement communications and not subject
                7 to disclosure for any purpose in any proceeding, except only as required to obtain
                8 approval of and implement this Settlement and/or to enforce this Settlement after
                9 Final Approval thereof is granted by the Court.
              10             20.       PAGA Settlement:    Fifty Thousand Dollars ($50,000.00) of the GSF
              11 shall be allocated to civil penalties under PAGA (the “PAGA Amount”), subject to
              12 the Court’s final approval, 75% of that PAGA Amount will be paid to the LWDA
              13 out of the GSF (the “LWDA Payment”), and the remaining 25% will be distributed
              14 to the “Aggrieved Employees” (the “Aggrieved Employee Payment(s)”), subject to
              15 the further terms of this Agreement, below.             For purposes of this Settlement,
              16 “Aggrieved Employee(s)” shall mean and include all of Defendant’s non-exempt
              17 current and former employees working or who worked in the State of California in a
              18 Dockworker or Dockworker Lead position from April 10, 2019 through the date of
              19 preliminary approval of the settlement by the Court or August 31, 2023, whichever
              20 occurs earlier.             The time period applicable to Aggrieved Employees’ and the
              21 LWDA’s release under PAGA is April 10, 2019 through August 31, 2023 (the
              22 “PAGA Period”).
              23             21.       Attorneys’ Fees and Costs: “Class Counsel” or “Plaintiffs’ Counsel”
              24 means Kevin T. Barnes, Esq. and Gregg Lander, Esq. of the Law Offices of Kevin
              25 T. Barnes; Raphael A. Katri, Esq. of the Law Offices of Raphael A. Katri; and
              26 Joseph Tojarieh, Esq. of Stonebrook Law.               Subject to approval of the Court,
              27 Plaintiffs’ Counsel shall be appointed as counsel for the Class for purposes of this
              28 settlement, and may apply for an award of attorneys’ fees and costs and expenses
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                1 incurred in connection with the prosecution of this matter, and all of the work
                2 remaining to be performed by Class Counsel in documenting the Settlement,
                3 securing Court approval of the Settlement (including all related appellate work),
                4 carrying out their duties to see that the Settlement is fairly administered and
                5 implemented, and obtaining entry of the final judgment approving this Settlement,
                6 judgment of dismissal of the Action with prejudice, in an amount of up to one-third
                7 (1/3) of the GSF for attorneys’ fees and in an amount of up to $30,000.00 for
                8 reimbursement of reasonable costs and expenses (together, “Attorneys’ Fees and
                9 Costs”). Amounts awarded by the Court for Attorneys’ Fees and Costs shall be paid
              10 from the GSF.
              11             22.       Enhancement Awards: Subject to approval by the Court, Plaintiffs shall
              12 be appointed as representatives of the Class, and they may seek an award in the
              13 amount of up to Ten Thousand Dollars ($10,000.00) each, in consideration for
              14 serving as representatives of the Class (the “Enhancement Awards”).                     The
              15 Enhancement Awards are in addition to the Individual Settlement Shares to which
              16 Plaintiffs are otherwise entitled as Settlement Class Members and the Aggrieved
              17 Employee Payments to which Plaintiffs are otherwise entitled as Aggrieved
              18 Employee.
              19             23.       Plaintiffs acknowledge and understand that the Court might only
              20 approve Enhancement Awards to them in amounts that are only a fraction of that set
              21 forth above, which will not be known until the Court decides whether to grant Final
              22 Approval of the settlement and even if the Court otherwise grants preliminary
              23 approval of the settlement. In the event lesser sums are awarded for Attorneys’ Fees
              24 and Costs than those referenced in Paragraph 21 or for the Enhancement Awards
              25 referenced in Paragraph 22, the approval by the Court of any such lesser sum(s) shall
              26 not be grounds for Plaintiffs and/or Class Counsel to terminate the Settlement, but
              27 such an order shall be appealable by them. In the event that such an appeal is filed,
              28 administration of the Settlement shall be stayed pending resolution of the appeal.
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                1 Thereafter, if after the exhaustion of such appellate review, any additional amounts
                2 remain that are distributable to the Participating Class Members, the cost of
                3 administration of such additional payments will be paid out of such additional
                4 amounts and will not be chargeable to or payable by Defendant. Any amount not
                5 awarded for Attorneys’ Fees and Costs or the Enhancement Awards, but which is
                6 not challenged via appeal by Plaintiffs and/or Class Counsel, shall be added to the
                7 NSF and distributed to the Participating Class Members in accordance with the
                8 terms of this Settlement Agreement.
                9            24.       Costs of Administration:    Subject to Court approval, the Parties
              10 designate Rust Consulting to administer the Settlement (the “Settlement
              11 Administrator”), with a preliminary budget to administer the settlement for fees
              12 and costs of up to $30,000 (the “Settlement Administration Costs”).                 The
              13 Settlement Administrator’s duties of administration shall include, without limitation,
              14 receiving the Class List to be produced by Defendant and updating it prior to the
              15 Notice being mailed, printing and mailing the Notice, performing necessary
              16 additional skip traces on Notices and/or checks returned as undeliverable, calculating
              17 Class Members’ estimated and final shares of the NSF, preparing and mailing of
              18 settlement checks, establishing a settlement website as described hereafter,
              19 responding to Class Member inquiries as appropriate, preparing any appropriate tax
              20 forms in connection with the settlement payments and remitting those forms and any
              21 required payments to the appropriate governmental agencies, and generally
              22 performing all normal and customary duties associated with the administration of
              23 such settlements. All fees and costs for the Settlement Administrator’s services will
              24 be paid out of the GSF.               The Settlement Administrator will coordinate the
              25 calculations of any necessary payroll taxes and deductions with Defendant to ensure
              26 that, to the extent such taxes and deductions are or could be deemed to have been
              27 made by the Settlement Administrator on behalf of Defendant by government taxing
              28 authorities, they are made in compliance with Defendant’s tax withholding and
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                1 remittance obligations for such payments.
                2            25.       No Claim Form Required: Only Participating Class Members shall
                3 share in the NSF referred to in Paragraph 17, as set forth in more detail in Paragraph
                4 27 hereafter. Participating Class Members shall not be required to complete a claim
                5 form. Class Members will be mailed a Notice of Class Action Settlement (the
                6 “Notice”), in substantially the form attached hereto as Exhibit B, subject to approval
                7 by the Court, informing them of the terms of the Settlement and providing them with
                8 an estimate of their share of the NSF. Class Members who do not timely and
                9 properly elect to opt out of the Settlement (“Participating Class Member(s)”) will
              10 be mailed a check representing their payment under the Settlement, in accordance
              11 with the terms of this Settlement Agreement.
              12             26.       Class Composition: Plaintiffs and Class Counsel have engaged the
              13 services of a data analytics consulting firm to apprise themselves of the estimated
              14 size and membership of the Class. The final Class composition will be determined as
              15 of the time of preliminary approval, and no additional funding or payment by
              16 Defendant will be required based thereon. If the qualifying workweeks (as described
              17 in Paragraph 27, below) during the Settlement Period exceed 200,000 workweeks,
              18 Plaintiffs will have the option to rescind and terminate the Settlement either in whole
              19 or as to the class action claims only, resulting in the Parties otherwise returning to
              20 their pre-settlement positions in the Action.         Should the qualifying workweeks
              21 during the Settlement Period exceed 200,000 workweeks, the Settlement
              22 Administrator shall notify lead counsel for all Parties via email within ten (10)
              23 business days after receipt of the Class List (as defined below), and Plaintiffs shall
              24 have five (5) business days from the date of the Settlement Administrator’s email to
              25 exercise their option to rescind and terminate the Settlement as referenced in this
              26 Paragraph. If Plaintiffs exercise this option, they will pay any Settlement
              27 Administrator costs incurred to date.
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                1            27.       Calculation of Participating Class Members’ Shares of the Net
                2 Settlement Fund:                  Defendant shall calculate and provide to the Settlement
                3 Administrator, from Defendant’s records as reflected on the Class List (as defined
                4 below), the number of workweeks that a Class Member actually worked for
                5 Defendant as a non-exempt Dockworker or Dockworker Lead in California during
                6 the Settlement Period, based on payroll and time records, hire dates, re-hire dates (as
                7 applicable), leave of absence dates, and termination dates (as applicable)
                8 (“Workweeks”).                Each Class Member’s share of the NSF (the “Individual
                9 Settlement Share(s)”) will be calculated initially for purposes of mailing the Notice
              10 by a pro rata share of the NSF based on the number of Workweeks that he or she
              11 performed work for Defendant during the Settlement Period. Each Participating
              12 Class Member’s final Individual Settlement Share for purposes of payment will be
              13 calculated by a pro rata share of the NSF based on the number of Workweeks that he
              14 or she performed work for Defendant during the Settlement Period. The dollar
              15 amount of any Individual Settlement Shares of Class Members who timely and
              16 properly opt-out of participating in the settlement will be added to the NSF and
              17 distributed to the Participating Class Members in accordance with the terms of this
              18 Settlement Agreement.
              19             28.       Calculation of Aggrieved Employees’ Shares of the Aggrieved
              20 Employee Payment: Defendant shall calculate and provide to the Settlement
              21 Administrator, from Defendant’s records as reflected on the Class List (as defined
              22 below), the number of pay periods that an Aggrieved Employee actually worked for
              23 Defendant as a non-exempt Dockworker or Dockworker Lead in California during
              24 the PAGA Period, based on payroll and time records, hire dates, re-hire dates (as
              25 applicable), leave of absence dates, and termination dates (as applicable) (“PAGA
              26 Pay Periods”).               Aggrieved Employees will receive their pro rata share of the
              27 Aggrieved Employee Payment of the PAGA Amount based on the number of PAGA
              28 Pay Periods he or she worked during the PAGA Period, regardless of whether he or
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                1 she submits a timely and valid Request for Exclusion from the Settlement
                2 Agreement.
                3            29.       Right to Opt Out, Object, and/or Dispute Workweeks: The Notice will
                4 be mailed to all Class Members and will advise each Class Member of their right to
                5 opt out of the Settlement Agreement, object to all or any part of the Settlement
                6 Agreement, and/or dispute the number of Workweeks credited to them. Any Class
                7 Member who wishes to opt out of the Settlement Agreement as to the proposed class
                8 action settlement, object to the Settlement Agreement as to the proposed class action
                9 settlement, and/or dispute the number of Workweeks credited to them for purposes
              10 of the proposed class action settlement, must do so in writing to the Settlement
              11 Administrator postmarked no later than forty-five (45) calendar days from the date
              12 of mailing of the Notice to the Class Members (the “Response Deadline”).
              13 However, there is no right to opt out of or object to the PAGA settlement under this
              14 Settlement Agreement, and any Class Member who opts out of the Settlement
              15 Agreement for purposes of the proposed class action settlement will still be bound
              16 by the release of PAGA claims set forth in Paragraph 41, below.
              17             30.       Opting Out of the Proposed Class Action Settlement: A request to opt
              18 out of and be excluded from the proposed class action settlement under this
              19 Settlement Agreement (a “Request for Exclusion”) must include: (i) the full name,
              20 current mailing address, signature, and last four digits of the Social Security number
              21 of the Class Member seeking exclusion; (ii) the case name and number of the
              22 Action; and (iii) a statement that the Class Member seeks to be excluded from the
              23 Settlement Agreement which is the same or substantially similar to the following
              24 language: “I elect to opt-out of the Hang, et al. v. Old Dominion Freight Line, Inc.
              25 class action settlement. I understand that by doing so, I will not participate in the
              26 settlement, and will not receive any money from it.” (the Notice will advise Class
              27 Members of this language). In the event that five percent (5%) or more of the Class
              28 Members submit a timely and valid Request for Exclusion, Defendant will have the
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                1 option to rescind and terminate the Settlement either in whole or as to the class
                2 action claims only, resulting in the Parties otherwise returning to their pre-settlement
                3 positions in the Action. Should the 5% threshold for opt outs be exceeded, the
                4 Settlement Administrator shall notify lead counsel for all Parties via email
                5 immediately, and Defendant shall have fifteen (15) calendar days from the date of
                6 the Settlement Administrator’s email to exercise its option to rescind and terminate
                7 the Settlement as referenced in this Paragraph. Defendant, however, shall pay all
                8 Settlement Administration Costs incurred by the Settlement Administrator up to the
                9 date of Defendant’s notice to rescind.
              10             31.       Objecting to the Proposed Class Action Settlement: An objection to the
              11 proposed class action settlement under this Settlement Agreement (an “Objection”)
              12 must include: (i) the full name, current mailing address, signature, and last four
              13 digits of the Social Security number of the objecting Class Member; (ii) the case
              14 name and number of the Action; (iii) a statement indicating the legal and factual
              15 grounds for the objection; (iv) a statement indicating whether the objecting Class
              16 Member is represented by counsel and identifying any such counsel; and (v) a
              17 statement indicating whether the objecting Class Member intends to appear for and
              18 wishes to be heard at the Final Approval Hearing (the Notice will advise Class
              19 Members of the need for these statements).
              20             32.       Disputing Workweeks: A Class Member’s dispute of the number of
              21 Workweeks credited to them and used to calculate the Class Member’s Individual
              22 Settlement Share for purposes of the proposed class action settlement under this
              23 Settlement Agreement (a “Workweeks Dispute”) must include: (i) the full name,
              24 current mailing address, telephone number, signature, and last four digits of the
              25 Social Security number of the disputing Class Member; (ii) the case name and
              26 number of the Action; (iii) a statement indicating that the Class Member seeks to
              27 dispute the number of Workweeks credited to them, the time period(s) the Class
              28 Member performed work for Defendant in a non-exempt Dockworker or
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                1 Dockworker Lead position in California during the Settlement Period, and the
                2 number of Workweeks that the Class Member contends should be credited to them;
                3 and (iv) documentation and/or other facts supporting the Class Member’s position.
                4 In response to any timely Workweeks Dispute, Defendant will first verify the
                5 information contained in the disputing Class Member’s personnel file and
                6 Defendant’s payroll records.            Unless the Class Member can establish that the
                7 number of Workweeks credited to them is incorrect, by providing documentation in
                8 support thereof or other details to substantiate their position, the total number of
                9 Workweeks established by Defendant’s records will control. Class Counsel and
              10 Defendant’s Counsel will then make a good faith effort to resolve the dispute
              11 informally before the Final Approval Hearing. If counsel for the Parties cannot
              12 agree, the dispute shall be resolved by the Settlement Administrator before the Final
              13 Approval Hearing, who shall examine the records provided by the Defendant and the
              14 Class Member and shall be the final arbiter of disputes relating to a Class Member’s
              15 Workweeks for purposes of administering notice of the Settlement, subject to final
              16 review, determination, and approval by the Court.
              17             33.       Funding of Settlement: Within fifteen (15) calendar days following the
              18 occurrence of the Effective Date of the Settlement as defined above, Defendant shall
              19 transfer the amount of the GSF to a Qualified Settlement Fund account (the
              20 “Settlement Account”) established by the Settlement Administrator. No funds will
              21 be payable by Defendant prior to that time.
              22             34.       Payment Procedures: Within fifteen (15) calendar days after Defendant
              23 deposits the GSF into the Settlement Account created by the Settlement
              24 Administrator, the Settlement Administrator shall distribute payment of the
              25 approved Individual Settlement Shares to Participating Class Members (as provided
              26 in Paragraph 27), the Aggrieved Employee PAGA Payments to Aggrieved
              27 Employees (as provided in Paragraphs 20 and 28), Attorneys’ Fees and Costs to
              28 Class Counsel, the Enhancement Awards to the Class Representatives, the LWDA
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                1 Payment to the LWDA, and the Settlement Administration Costs to the Settlement
                2 Administrator, in accordance with this Settlement Agreement and as ordered by the
                3 Court.
                4            35.       Tax Treatment of Settlement Payments: Each Individual Settlement
                5 Share will be allocated 25% for wages inclusive of all types of applicable employer-
                6 paid and employee-paid payroll withholdings and taxes (the “Wages Portion”), 50%
                7 for non-wage statutory or other non-wage damages or penalties, and 25% for
                8 interest. The penalties, statutory and other non-wage damages, and interest portions
                9 are collectively referred to as “Non-Wage Portions.” Each Aggrieved Employee
              10 Payment will be allocated 100% as civil penalties, which will be reported on IRS
              11 Form 1099 (if applicable).
              12                       a.      Prior to distribution, Individual Settlement Shares will be subject
              13 to adjustment and/or reduction for required payroll taxes, contributions, and
              14 withholdings with respect to the Wages Portion, resulting in a net payment which is
              15 referred to as the “Individual Settlement Payment.” The Settlement Administrator
              16 will be responsible for appropriate payroll tax deductions.
              17                       b.      Each recipient of any monies paid in accordance with this
              18 Settlement Agreement is responsible for any taxes associated with the monies
              19 received by each recipient.
              20                       c.      The Settlement Administrator (and not Defendant) will prepare
              21 and issue an IRS Form W-2 to Participating Class Members with respect to the
              22 Wages Portion of each Individual Settlement Payment. Where otherwise required
              23 by state or federal tax requirements, the Settlement Administrator (and not
              24 Defendant) will prepare a Form 1099 for Participating Class Members for the Non-
              25 Wage Portions of their Individual Settlement Shares and/or Aggrieved Employees
              26 for their Aggrieved Employee Payments. The Settlement Administrator will be
              27 responsible for preparing and issuing these forms timely and correctly. Participating
              28 Class Members and Aggrieved Employees will be responsible for correctly
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                1 characterizing the compensation that they receive pursuant to this Settlement
                2 Agreement, including as set forth on any IRS Form W-2 or IRS Form 1099 they
                3 receive from the Settlement Administrator, and for payment of any taxes owing on
                4 said amounts.
                5                      d.      The Parties acknowledge and agree that neither they nor their
                6 attorneys have made any representations regarding the tax consequences of any and
                7 all payments made under this Settlement Agreement. Participating Class Members
                8 and Aggrieved Employees will be required to pay all federal, state, or local taxes, if
                9 any, which are required by law to be paid with respect to any and all payments made
              10 to them under the Settlement. The Parties further agree that Defendant shall have no
              11 legal obligation to pay, on behalf of Participating Class Members or Aggrieved
              12 Employees, any taxes, deficiencies, levies, assessments, fines, penalties, interest or
              13 costs, which may be required to be paid with respect to the settlement payments.
              14             36.       Tax Treatment of Enhancement Awards and Class Counsel’s Award of
              15 Attorneys’ Fees and Costs: The Class Representatives and Class Counsel will
              16 receive an IRS Form 1099 for the Class Representatives’ respective Enhancement
              17 Awards and Class Counsel’s award of Attorneys’ Fees and Costs, which will be
              18 prepared by the Settlement Administrator. The Class Representatives and Class
              19 Counsel will be solely responsible for correctly characterizing this compensation for
              20 tax purposes and for payment of any taxes owing on said amounts.                   Prior to
              21 receiving the payments specified herein, the Class Representatives and Class
              22 Counsel each shall deliver to the Settlement Administrator any necessary tax forms
              23 requested by the Settlement Administrator.
              24             37.       Undistributed Funds:     Individual Settlement Payment checks will
              25 remain valid and negotiable for one hundred and eighty (180) days after the date of
              26 issuance.             If an Individual Settlement Payment check is returned before the
              27 expiration of the 180-day period (“Returned Check”), then within five (5) days of
              28 receipt of the Returned Check, the Settlement Administrator shall undertake a skip-
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                1 trace search for an alternate mailing address and re-mail the Returned Check to an
                2 alternate mailing address (if one is located), under a cover letter indicating that the
                3 Returned Check will continue to be valid and negotiable for thirty (30) days after the
                4 date of re-mailing. In the event that any checks mailed to Settlement Class Members
                5 are not cashed, deposited, or otherwise negotiated within the 180-day period, no
                6 forwarding address can be located for a Returned Check, or a Returned Check is re-
                7 mailed but not cashed, deposited, or otherwise negotiated within the 30-day period
                8 from the re-mailing of the Returned Check, then the checks shall be cancelled by the
                9 Settlement Administrator, and the funds associated with such cancelled checks shall
              10 be transmitted by the Settlement Administrator pursuant to governing law to the
              11 California State Controller Unclaimed Property fund to be held there for the benefit
              12 of such Class Members under California’s escheatment laws, and such Class
              13 Members shall nevertheless be bound to the Settlement Agreement and the Final
              14 Approval Order. The Parties agree this disposition results in no “unpaid residue”
              15 under California Civil Procedure Code § 384(b), as the entire NSF shall be paid to
              16 Participating Class Members, whether or not their Individual Settlement Payment
              17 checks are cashed.
              18                                     NOTICE TO THE CLASS
              19             38.       Compilation of Class List: The Parties agree that within thirty (30)
              20 calendar days after preliminary approval of this Settlement Agreement by the Court,
              21 Defendant will provide a final “Class List” to the Settlement Administrator, which
              22 list shall include the following most up to date information about each Class
              23 Member in an electronic format: (a) full name; (b) most current mailing address and
              24 phone number as reflected in Defendant’s personnel records; (c) Social Security
              25 Number; (d) hire date(s) of record with Defendant and termination date(s) of record
              26 if applicable; (e) number of Workweeks for each Class Member during the
              27 Settlement Period; and (f) number of PAGA Pay Periods for each Aggrieved
              28 Employee during the PAGA Period.                The Class List provided to, updated and
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                1 maintained by the Settlement Administrator shall be used only by the Settlement
                2 Administrator and only for purposes of administering the settlement as provided for
                3 in this Agreement, and the Settlement Administrator shall not disclose the contents
                4 thereof except as expressly permitted under this Agreement. The restrictions on the
                5 use and disclosure of the Class List and the Class Data List (as defined below) shall
                6 be deemed, upon entry of the Court’s Order granting preliminary approval of this
                7 Settlement, to be a protective order entered by the Court subject to full enforcement
                8 by the Parties to this Agreement and the Court, and by taking on the administration
                9 of the Settlement, the Settlement Administrator agrees that it and its employees,
              10 agents and representatives are bound by such protective order. The Settlement
              11 Administrator will update addresses contained in the Class List prior to the mailing
              12 of the Notice to the Class, by using the U.S. Postal Service’s National Change of
              13 Address Database. Once the final Class List has been received from Defendant, and
              14 updated as stated herein, the list shall then be referred to as the “Class Data List.”
              15 In response to any contention by an individual that they are a Class Member who
              16 was omitted from the Class Data List, made on or before the Response Deadline,
              17 Defendant will first verify the information contained in the personnel file of the
              18 individual at issue and Defendant’s payroll records. Unless the individual at issue
              19 can establish that he or she should have been included in the Class Data List, by way
              20 of supporting documentation, Defendant’s records will control. Class Counsel and
              21 Defendant’s Counsel will then make a good faith effort to determine whether or not
              22 the individual at issue is a Class Member. If counsel for the Parties cannot agree,
              23 then the Settlement Administrator shall determine whether the individual at issue is a
              24 Class Member, who shall examine the records provided by the Defendant and the
              25 individual at issue, and shall be the final arbiter of whether or not the individual at
              26 issue is a Class Member, subject to final review, determination, and approval by the
              27 Court. Nothing herein limits the provisions or applicability of Paragraph 26, above.
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                1            39.       Dissemination of Notice of Class Action Settlement: Within fifteen
                2 (15) calendar days of its receipt of the Class List, the Settlement Administrator will
                3 send the Notice to the Class Members, by first-class mail, at their most current
                4 address of record or such other address as located by the Settlement Administrator in
                5 conformity with Paragraph 38, in the form attached hereto as Exhibit B or as
                6 otherwise approved by the Court.
                7                      RELEASE BY PARTICIPATING CLASS MEMBERS,
                8                           THE LWDA AND AGGRIEVED EMPLOYEES
                9            40.       Release by Participating Class Members:
              10                       a.      The “Released Parties” shall collectively include Old Dominion
              11 Freight Line, Inc. and its employees, officers, directors, shareholders, members,
              12 administrators, parent and subsidiary entities, trustees, sponsors, fiduciaries, agents,
              13 contractors,           representatives,   attorneys,   accountants,   insurers,   predecessors,
              14 successors and assigns, past, present, and future (collectively, the “Affiliated
              15 Releasees”), and each and all of their respective Affiliated Releasees, past, present,
              16 and future, and all persons acting under, by, through, or in concert with any of them.
              17                       b.      The “Released Claims” shall include any and all allegations,
              18 claims, debts, rights, demands, charges, complaints, actions, causes of action,
              19 guarantees, costs, expenses, attorneys’ fees, economic damages, non-economic
              20 damages, restitution, civil penalties, statutory penalties, liquidated damages, punitive
              21 damages, interest, obligations, liabilities, or other monies and remedies, of any and
              22 every kind, contingent or accrued, that have been or reasonably could have been
              23 alleged or asserted in the 5AC and/or any of the pleadings filed in the Action and/or
              24 in any notice sent by Plaintiffs to the LWDA pursuant to PAGA based on the factual
              25 and/or legal violations allegations contained therein, including, claims for any type
              26 of rest and meal break violations, any type of wage claims arising out of or related to
              27 any purported off-the-clock work as alleged in the 5AC and/or related to any
              28 purported meal or rest break violations, any type of wage statement violation claims,
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                1 any type of expense reimbursement claims, any waiting time penalties claims, any
                2 type of derivative UCL and PAGA claims based on the foregoing, and parallel
                3 claims that may be brought under the FLSA based on the foregoing, , including, any
                4 alleged violations of California Labor Code §§ 201-203, 204, 206, 210, 221, 226,
                5 226.3, 226.7, 510, 512, 516, 558, 1174, 1194, 1194.2, 1197, 1197.1, 1198, 1199,
                6 and/or 2802, and/or civil penalties pursuant to PAGA based on the foregoing.
                7                      c.      Upon the Settlement Administrator’s receipt of the GSF from
                8 Defendant, Plaintiffs and the Participating Class Members shall be deemed to have
                9 released the Released Parties of and from all Released Claims that arose, accrued,
              10 and/or have been asserted during the Settlement Period.
              11             41.       Release by the LWDA and the Aggrieved Employees:
              12                       a.      Upon the Settlement Administrator’s receipt of the GSF from
              13 Defendant, Plaintiffs, the LWDA, and the Aggrieved Employees shall be deemed to
              14 have released the Released Parties of and from all claims for any civil penalties
              15 recoverable under the California Labor Code, including PAGA, arising out of or
              16 related to the Released Claims, as well as costs and attorneys’ fees related thereto,
              17 that arose, accrued, and/or have been asserted during the PAGA Period.
              18                  ADDITIONAL RELEASE BY CLASS REPRESENTATIVES
              19             42.       In addition to the releases set forth in Paragraphs 40 and 41, Plaintiffs,
              20 for themselves alone as individuals, release the Released Parties of and from any and
              21 all claims, debts, liabilities, demands, obligations, guarantees, costs, expenses,
              22 attorneys’ fees, damages, actions or causes of action of every kind or nature,
              23 contingent or accrued, known or unknown, which do or may exist as of the date on
              24 which this Settlement Agreement is executed and through and including the date of
              25 Final Approval of this Settlement Agreement, including without limitation any
              26 claimed violations of California Labor Code §§ 201-203, 204, 206, 210, 221, 226,
              27 226.3, 226.7, 510, 512, 516, 558, 1174, 1194, 1194.2, 1197, 1197.1, 1198, 1199,
              28 and/or 2802, 2699, and 2699.3.                In connection therewith, Plaintiffs waive the
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                1 provisions of Cal. Civ. Code § 1542, which states:
                2
                             A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                3            THAT THE CREDITOR OR RELEASING PARTY DOES NOT
                4            KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT
                             THE TIME OF EXECUTING THE RELEASE AND THAT, IF
                5            KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY
                6            AFFECTED HIS OR HER SETTLEMENT WITH THE
                             DEBTOR OR RELEASED PARTY.
                7
                8               INJUNCTION BARRING PURSUIT OF RELEASED CLAIMS
                9            43.       Upon the Final Approval of the Settlement, Plaintiffs, Participating
              10 Class Members, the LWDA, and Aggrieved Employees shall be enjoined from
              11 filing, initiating, or continuing to prosecute any actions, claims, complaints, or
              12 proceedings in court, arbitration, with the California Division of Labor Standards
              13 Enforcement (“DLSE”), with the LWDA, or with any other entity, with respect to
              14 the claims released as described in Paragraphs 40 and 41, above. This settlement is
              15 conditioned upon the release by Participating Class Members, Plaintiffs, Aggrieved
              16 Employees, and the LWDA as described in Paragraphs 40 and 41, above, and upon
              17 covenants by each of them that they will not and cannot bring or participate in any
              18 actions, lawsuits, proceedings, complaints, or charges brought individually, by the
              19 DLSE, the LWDA, or by any other agency, persons or entity in any court, arbitration
              20 or before any administrative body with respect to the claims released as described in
              21 Paragraphs 40 and 41, above, nor will any of them contest or interfere with efforts
              22 by Defendant or by any other Released Parties to oppose any attempt to bring such
              23 released claims against any of them. Additionally, it is agreed herein that neither
              24 injunctive nor declaratory relief, nor any equitable relief, will be ordered by the
              25 Court against Defendant in Final Approval of the Settlement, which will otherwise
              26 be grounds for Defendant rescinding and terminating this Settlement Agreement.
              27
              28
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                1                DUTIES OF THE PARTIES PRIOR TO COURT APPROVAL
                2            44.       The Parties shall promptly seek the Court’s approval of this Settlement.
                3 Plaintiffs’ counsel will prepare Plaintiffs’ motion for preliminary approval. Not later
                4 than five (5) calendar days prior to the submission of the motion for preliminary
                5 approval of this Settlement Agreement to the Court, Class Counsel will submit a
                6 near-final draft thereof (including all supporting papers and proposed order) to
                7 counsel for Defendant for their review and comment. As soon as practicable after
                8 execution of this Settlement Agreement, the Class Representatives and Class
                9 Counsel shall apply to the Court for the entry of a preliminary approval order which
              10 would accomplish the following:
              11                       a.      Schedule a hearing (the “Final Approval Hearing”) on the
              12 question of whether the Settlement, including, inter alia, the payment of Attorneys’
              13 Fees and Costs, Enhancement Awards, and PAGA Amount should be finally
              14 approved as fair, reasonable, and adequate, and finally resolving any outstanding
              15 issues or disputes remaining from the administration of the notice of the settlement;
              16                       b.      Provide that Plaintiffs have conditional leave to file the 5AC on
              17 the terms set forth in this Agreement, subject to the limited statute of limitations
              18 tolling for the Additional Claims as provided in this Agreement;
              19                       c.      Conditionally certify the Class for purposes of the Settlement
              20 only;
              21                       d.      Approve, as to form and content, the proposed Notice;
              22                       e.      Direct the mailing of the Notice by first class mail to the Class
              23 Members;
              24                       f.      Preliminarily approve the Settlement and monetary allocations
              25 for awards/payments of Attorneys’ Fees and Costs, Settlement Administration Costs,
              26 Enhancement Awards, and PAGA Amount, subject to the final review and approval
              27 by the Court;
              28                       g.      Preliminarily approve Rust Consulting as the Settlement
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                1 Administrator;
                2                      h.      Preliminarily approve and appoint Plaintiffs as representatives of
                3 the Class; and
                4                      i.      Preliminarily approve and appoint Plaintiffs’ Counsel as counsel
                5 for the Class.
                6            45.       Plaintiffs’ Counsel shall be responsible for ensuring that all required
                7 submittals and notifications to the LWDA under PAGA regarding this Settlement
                8 are made by Plaintiffs.
                9      DUTIES OF THE PARTIES FOLLOWING PRELIMINARY APPROVAL
              10             46.       Plaintiffs’ counsel will prepare Plaintiffs’ motion for final approval.
              11 Not later than five (5) calendar days prior to the submission of the motion seeking
              12 Final Approval, Class Counsel will submit a near-final draft thereof (including all
              13 supporting papers and proposed order) to counsel for Defendant for their review and
              14 comment. In conjunction with the request for Final Approval of the Settlement
              15 provided for in this Settlement Agreement, Class Counsel will submit a proposed
              16 Final Approval Order and Judgment that provides for the following:
              17                       a.      Granting final approval of the Settlement, adjudging the terms
              18 thereof to be fair, reasonable, and adequate, and directing consummation of its terms
              19 and provisions;
              20                       b.      Approving and awarding Attorneys’ Fees and Costs to Class
              21 Counsel;
              22                       c.      Approving and awarding the Enhancement Awards to the Class
              23 Representatives;
              24                       d.      Approving and awarding all payments specified in this
              25 Settlement Agreement to the LWDA, Aggrieved Employees, and Participating Class
              26 Members;
              27                       e.      Permanently enjoining and restraining Plaintiffs, Participating
              28 Class Members, Aggrieved Employees, and the LWDA from and against initiating
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                1 or pursuing any claims settled herein and released by this Settlement Agreement;
                2 and
                3                      f.      Entering judgment in accordance with the terms of this
                4 Settlement Agreement, including without limitation the permanent injunction
                5 provisions.
                6                                      PARTIES’ AUTHORITY
                7            47.       The signatories hereto hereby represent that they are fully authorized to
                8 enter into this Settlement Agreement and bind the Parties hereto to the terms and
                9 conditions hereof.
              10                                    MUTUAL FULL COOPERATION
              11             48.       The Parties agree to fully cooperate with each other to accomplish the
              12 terms of this Settlement Agreement, including but not limited to execution of such
              13 documents and other actions as may reasonably be necessary to implement the terms
              14 of this Settlement Agreement. The Parties shall use their best efforts, including all
              15 efforts contemplated by this Settlement Agreement and any other efforts that may
              16 become necessary by order of the Court, or otherwise, to effectuate this Settlement
              17 Agreement and the terms set forth herein. As soon as practicable after execution of
              18 this Settlement Agreement, Class Counsel shall, with the assistance and cooperation
              19 of Defendant and its counsel, take all necessary steps to secure the Court’s
              20 preliminary approval and final approval of this Settlement Agreement.
              21                                      NO PRIOR ASSIGNMENTS
              22             49.       The Parties hereto represent, covenant, and warrant that they have not,
              23 directly or indirectly, assigned, transferred, encumbered, or purported to assign,
              24 transfer, or encumber to any person or entity any portion of any liability, claim,
              25 demand, action, cause of action, or rights herein released and discharged except as
              26 set forth herein.
              27                                          CONSTRUCTION
              28             50.       The Parties hereto agree that the terms and conditions of this Settlement
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                                           RELEASE OF CLASS ACTION AND PAGA CLAIMS
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                1 Agreement are the result of lengthy, intensive, arms-length negotiations between the
                2 Parties, conducted under the auspices of mediator David A. Rotman, a respected and
                3 experienced class action mediator. The Parties further agree that they have each had
                4 a full opportunity to negotiate the terms and conditions of this Agreement.
                5 Accordingly, the Parties expressly waive the common law and statutory rules of
                6 construction that ambiguities should be construed against the drafter of an
                7 agreement, and agree, covenant, and represent that the language in all parts of this
                8 Agreement shall be in all cases construed as a whole, according to its fair meaning.
                9                                   CAPTIONS AND INTERPRETATIONS
              10             51.       Paragraph titles or captions contained herein are inserted as a matter of
              11 convenience and for reference, and in no way define, limit, extend, or describe the
              12 scope of this Settlement Agreement or any provision hereof. Each term of this
              13 Settlement Agreement is contractual and not merely a recital.
              14                                           MODIFICATION
              15             52.       This Settlement Agreement may not be changed, altered, or modified,
              16 except in writing and signed by the Parties hereto, and approved by the Court. This
              17 Settlement Agreement may not be discharged except by performance in accordance
              18 with its terms or by a writing signed by the Parties hereto.
              19                                        INTEGRATION CLAUSE
              20             53.       This Settlement Agreement contains the entire agreement between the
              21 Parties relating to the settlement and the transaction contemplated hereby, and all
              22 prior or contemporaneous agreements, understandings, representations, and
              23 statements, whether oral or written and whether by a Party or such Party’s legal
              24 counsel, are merged herein. No rights hereunder may be waived except in writing.
              25                                         BINDING ON ASSIGNS
              26             54.       This Settlement Agreement shall be binding upon and inure to the
              27 benefit of the Parties hereto and their respective heirs, trustees, executors,
              28 administrators, successors, and assigns.
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                1                                          SIGNATORIES
                2            55.       It is agreed that because of the large number of Participating Class
                3 Members, it is impossible or impractical to have each Participating Class Member
                4 execute this Settlement Agreement. As such, Plaintiffs are signing on behalf of the
                5 Participating Class Members. In addition, the Notice will advise all Participating
                6 Class Members of the binding nature of the release of claims under the Settlement
                7 and that such shall have the same force and effect as if this Settlement Agreement
                8 were executed by each Participating Class Member.
                9                                       CONFIDENTIALITY
              10             56.       Plaintiffs and Class Counsel will maintain the proposed settlement and
              11 this Settlement Agreement as confidential and not publicly disclose the same except
              12 as set forth herein and in Paragraph 57, below. Except as set forth in Paragraph 57,
              13 below, or as otherwise agreed in writing between the Parties, both before and
              14 following the execution of this Settlement Agreement by the Parties and their
              15 counsel, there will be no direct or indirect comment or publication by Plaintiffs and
              16 Class Counsel (lead or otherwise) of the settlement in terms of affirmative or
              17 responsive media statements/comments, press releases or conferences, website
              18 postings or content, social media postings or content, other Internet postings or
              19 content, subscribed email messages, newsletters, disseminated updates, mass
              20 mailings, or any other comment or publication to the press, media or public at large.
              21 This shall not apply to or limit the public filing of motions or other case materials by
              22 Class Counsel in other class actions or this Action related to seeking and obtaining
              23 Court approval of the proposed settlement and the related awards of attorneys’ fees
              24 and costs, enhancement, and the other relief set forth in this Settlement Agreement,
              25 or to communications between Class Counsel, Plaintiffs, and/or Class Members in
              26 the Action, except that prior to the filing of the motion for preliminary approval of
              27 the Settlement in the Action, Class Counsel shall not discuss the Settlement with
              28 Class Members other than the named Plaintiffs. Class Counsel may otherwise state
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                1 only that the Action has been settled on terms mutually agreeable to the Parties. The
                2 Parties understand and agree that there may be media coverage of the settlement of
                3 the Action not initiated by Plaintiffs, directly or indirectly. It is also agreed and
                4 understood that the Parties may disclose the settlement to their families, plus their
                5 legal, tax, or accounting advisors, insurance companies, or as required by law,
                6 regulatory rules or regulatory requirements.
                7                                            WEBSITE
                8            57.       The Parties agree that the Settlement Administrator may use U.S. Mail
                9 and an information-only website (the “Settlement Website”) to provide notice and
              10 information about the Settlement to Class Members. The Settlement Website is to
              11 be established by the Settlement Administrator solely for purposes of the
              12 administration of the Settlement, and the domain name used for the website will be
              13 subject to Defendant’s reasonable approval.              Not later than the date that the
              14 Settlement Administrator must remit any funds associated with cancelled Individual
              15 Settlement Share checks, as set forth in Paragraph 37, the Settlement Website will be
              16 taken down. No information about the Action or the settlement may be posted on
              17 any of Class Counsel’s websites except as expressly set forth herein without
              18 Defendant’s prior written consent.
              19                                         COUNTERPARTS
              20             58.       This Settlement Agreement may be executed in counterparts, and when
              21 each Party has signed and delivered at least one such counterpart, each counterpart
              22 shall be deemed an original, and, when taken together with other signed
              23 counterparts, shall constitute one Settlement Agreement, which shall be binding
              24 upon and effective as to all Parties.
              25                                        GOVERNING LAW
              26             59.       The Parties agree that California law governs the interpretation and
              27 application of this Settlement Agreement, except to the extent governed by federal
              28 law in which case federal law will apply.
                                                                  29
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                1                                   MISCELLANEOUS PROVISIONS
                2            60.       Each Party to Bear Own Costs. Except as specifically provided herein,
                3 the Parties hereto will bear responsibility for their own attorneys’ fees and costs,
                4 taxable or otherwise, incurred by them or arising out of or related to this Action, and
                5 will not seek reimbursement thereof from any Party to this Agreement.
                6            61.       Severability. If any of the above provisions are found null, void, or
                7 inoperative, in part or in full, for any reason, the remaining provisions will remain in
                8 full force and effect. Notwithstanding, the invalidation in whole or in part of any
                9 material term of this Agreement, including but not limited to all the terms and
              10 provisions specified in the releases of claims, will invalidate this Agreement in its
              11 entirety unless the Parties subsequently agree in writing that the remaining
              12 provisions will remain in force and effect.
              13             62.       Non-Evidentiary Use. Neither the fact of this Agreement, the existence
              14 of this Agreement, the terms of this Agreement, nor any order or action pursuant
              15 thereto may be referred to, relied upon, cited, or used in the Action or in any other
              16 action or proceeding as evidence by any of the Parties, Class Members, Aggrieved
              17 Employees, the LWDA, or their respective counsel, but nothing contained in this
              18 section shall prevent this Agreement from being used, offered, or received in
              19 evidence in any proceeding to enforce, construe, or approve/finalize this Agreement.
              20             63.       Advice of Counsel. The Parties to this Agreement are represented by
              21 competent counsel, and they have had an opportunity to consult with counsel. The
              22 Parties to this Agreement agree that it reflects their good faith compromise of the
              23 claims raised in this action, based upon their assessment of the mutual risks and
              24 costs of further litigation and the assessments of their respective counsel.
              25
              26 EACH OF THE UNDERSIGNED ACKNOWLEDGE THAT EACH HAS
              27 READ THE FOREGOING AGREEMENT AND ACCEPTS AND AGREES
              28 TO          THE        PROVISIONS        CONTAINED         THEREIN,      AND     HEREBY
                                                                  30
                        STIPULATION FOR LEAVE TO FILE FIFTH AMENDED COMPLAINT AND FOR SETTLEMENT AND
                                           RELEASE OF CLASS ACTION AND PAGA CLAIMS
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         Case 5:21-cv-00287-JWH-KK Document 49 Filed 08/03/23 Page 40 of 42 Page ID #:1620




                1 EXECUTES IT VOLUNTARILY WITH FULL KNOWLEDGE OF ITS
                2 CONSEQUENCES.
                3
                4 IT IS SO STIPULATED AND AGREED:
                5
                6 DATED: ____________
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                                                          TAI HANG
                7
                8 DATED: ____________
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                                                          ROBERT CANALES
                9
              10 DATED: ____________                    OLD DOMINION FREIGHT LINE, INC.
              11
                                                        By:
              12
              13                                                Print Name: ___________________
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                                                                Title: ________________________
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                                 APPROVED AND AGREED AS TO FORM AND CONTENT:
              16
              17 DATED: ____________
                                            LAW OFFICES OF KEVIN T. BARNES
                                                       LAW OFFICES OF RAPHAEL A. KATRI
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              19
                                                       By:
              20                                                    Kevin T. Barnes
                                                                    Gregg Lander
              21                                                    Raphael A. Katri
              22                                              Attorneys for Plaintiff
                                                              TAI HANG
              23
              24 DATED: ____________
                                            STONEBROOK LAW

              25
              26                                       By:
                                                                    Joseph Tojarieh
              27
                                                              Attorney for Plaintiff
              28                                              ROBERT CANALES
                                                              31
                        STIPULATION FOR LEAVE TO FILE FIFTH AMENDED COMPLAINT AND FOR SETTLEMENT AND
                                           RELEASE OF CLASS ACTION AND PAGA CLAIMS
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